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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No: 1:17-cv-60426-UU

   ALEKSEJ GUBAREV, et al.,

          Plaintiffs,
   v.

   BUZZFEED, INC., et al.,

         Defendants.
   _____________________________________/


               DECLARATION OF NATHAN SIEGEL IN SUPPORT OF
        DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 4
         TO PRECLUDE THE INTRODUCTION OF TESTIMONY OR EVIDENCE
          CONCERNING THE RELIABILITY OF CHRISTOPHER STEELE OR
           FUSION GPS OR ANY EFFORTS ALLEGEDLY UNDERTAKEN BY
          EITHER TO VERIFY ALLEGATIONS CONTAINED IN THE DOSSIER



          I, Nathan Siegel, pursuant to 29 U.S.C. § 1746, hereby declare as follows:

          1.      I am a partner at the law firm of Davis Wright Tremaine LLP, counsel for

   Defendants BuzzFeed, Inc. and Ben Smith in the above-captioned proceeding.

          2.      I make this declaration in order to annex exhibits relied upon in Defendants’

   Opposition to Plaintiffs’ Motion in Limine No. 4;

          3.      Annexed hereto as Exhibit 1 is a true and correct copy of Dkt. 1-3 in In re Third

   Party Subpoena to Fusion GPS, No. 0:18-mc-60528-UU (subpoena to Fusion GPS to testify).

          4.      Annexed hereto as Exhibit 2 is a true and correct copy of relevant excerpts from

   the transcript of the August 30, 2018 30(b)(6) deposition of Fusion GPS 30(b)(6) designee.
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            5.    Annexed hereto as Exhibit 3 is a true and correct copy of the Second Witness

   Statement of Steven Loble dated January 16, 2018 in the Gubarev v. BuzzFeed proceeding in the

   United Kingdom.

            6.    Annexed hereto as Exhibit 4 is a true and correct copy of the Civil Rules of

   Evidence for the United Kingdom, available at the website

   https://www.justice.gov.uk/courts/procedure-rules/civil/rules/part32#32.14.

            7.    Annexed hereto as Exhibit 5 is a true and correct copy of relevant excerpts from

   the transcript of an oral hearing dated February 5, 2018 in the Gubarev v. FuzzFeed proceeding

   in the United Kingdom.

            8.    Annexed hereto as Exhibit 6 is a true and correct copy of Dkt. 46 in In re Third

   Party Subpoena to Fusion GPS, No. 0:18-mc-60528-UU (Plaintiffs’ Opposition to Fusion GPS’s

   Recast Motion to Quash Subpoena or, in the Alternative, for a Protective Order, dated June 15,

   2018).

            9.    Annexed hereto as Exhibit 7 is a true and correct copy of a June 4, 2018 article in

   Vanity Fair, by Joe Pompeo entitled, “‘We Could Fight This Thing To The End’: As Christopher

   Steele Prepares To Be Deposed About His Dossier In London, BuzzFeed Girds For A Long

   Struggle.”

            10.   Annexed hereto as Exhibit 8 is a true and correct copy of relevant excerpts from

   the June 18, 2018 deposition of Christopher Steele.

            11.   Annexed hereto as Exhibit 9 is a true and correct copy of Dkt. 35 in In re Third

   Party Subpoena to Fusion GPS, No. 0:18-mc-60528-UU (Plaintiffs’ Reply to Fusion GPS’

   Motion for Leave to Supplement Motion to Quash, dated March 29, 2018).




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        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on November 13, 2018 in Washington, District of Columbia.


                                                      /s/ Nathan Siegel
                                                      Nathan Siegel




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